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                Exhibit A
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                                         Case
                                          Case1:20-cv-03590-JEB
                                               5:20-cv-08570-LHK Document
                                                                  Document63-2
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                                         Filing of Consolidated Class Action Complaint       April 22, 2021
                                   1
                                         Filing of Motion to Dismiss                         Motion: May 20, 2021
                                   2                                                         Opp’n: June 17, 2021
                                                                                             Reply: July 1, 2021
                                   3
                                                                                             Hearing: July 15, 2021 at 1:30
                                   4                                                         p.m.
                                         Further Case Management Conference                  July 7, 2021 at 2:00 p.m.
                                   5
                                         Last Day to Amend the Pleadings/Add Parties         August 27, 2021
                                   6     Class Certification Motion                          Motion: March 15, 2022
                                                                                             Opp’n: April 19, 2022
                                   7
                                                                                             Reply: May 17, 2022
                                   8                                                         Hearing: June 2, 2022 at 1:30
                                                                                             p.m.
                                   9     Close of Fact Discovery                             September 2, 2022
                                  10     Opening Expert Reports                              September 23, 2022

                                  11     Rebuttal Expert Reports                             October 14, 2022
                                         Close of Expert Discovery                           November 4, 2022
                                  12
Northern District of California




                                         Dispositive Motions                                 Motion: November 18, 2022
 United States District Court




                                  13     (one per side in the entire case)                   Opp’n: December 9, 2022
                                                                                             Reply: December 21, 2022
                                  14                                                         Hearing: January 12, 2023 at
                                  15                                                         1:30 p.m.
                                         Final Pretrial Conference                           March 9, 2023 at 1:30 p.m.
                                  16     Jury Trial                                          March 27, 2023 at 9:00 a.m.
                                  17

                                  18   IT IS SO ORDERED.

                                  19

                                  20   Dated: April 2, 2021

                                  21                                                ______________________________________
                                                                                    LUCY H. KOH
                                  22                                                United States District Judge
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                                       Case No. 20-CV-08570-LHK
                                       CASE MANAGEMENT ORDER
